         Case 5:14-cv-00421-KGB Document 55 Filed 07/19/19 Page 1 of 2



                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF ARKANSAS
                            JONESBORO DIVISION
______________________________________________________________________________

EDWARD BRYANT,

       Plaintiff,

v.                                                  CASE NO. 5:14-CV-0421-KGB-JTR

ATLAS TUBE, INC.; MIKE REDDY,
Individually, and in his Official Capacity
as Atlas Supervisor; STEVE MONNETTE,
Individually, and in his Official Capacity as
Human Resource Manager; RAY FAULKS,
Individually, and in his Official Capacity as
Plant Manager; JERRY GARNER, Individually,
and in his Official Capacity as Crane Operator;
JIM JONES, Individually, and in his Official
Capacity as Crane Operator; and CHARLES LENNARD,
Individually, and in his Official Capacity as Crane Operator,

      Defendants.
______________________________________________________________________________

            JOINT STIPULATION OF DISMISSAL WITH PREJUDICE
______________________________________________________________________________

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Defendants Atlas Tube, Inc.

(“Atlas Tube”), Mike Reedy (incorrectly named in the Amended Complaint as Mike Reddy),

Steven Monet (incorrectly named in the Amended Complaint as Steve Monnette), Ray Falk

(incorrectly named in the Amended Complaint as Ray Faulks), Jerry Garner, Jim Jones, and

Charles Leonard (incorrectly named in the Amended Complaint as Charles Lennard)

(collectively “Defendants”) and Plaintiff Edward Bryant notify the Court that they have reached

a compromise regarding Plaintiff’s claims. Accordingly, the parties request that the Court

dismiss this case with prejudice pursuant to the proposed Order of Dismissal With Prejudice
         Case 5:14-cv-00421-KGB Document 55 Filed 07/19/19 Page 2 of 2



submitted contemporaneously with this Stipulation of Dismissal. The parties will bear their own

fees and costs.

DATED: July 19, 2019                       Respectfully submitted,

                                           OGLETREE, DEAKINS, NASH,
                                            SMOAK & STEWART, P.C.

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                                           ATTORNEYS FOR DEFENDANTS

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                                           ATTORNEY FOR PLAINTIFF




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